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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


 KELLY JONES; and MARSHA HALL,
 individually and on behalf of all others        Case No. 21-cv-12637
 similarly situated,
                                                 CLASS ACTION COMPLAINT
                     Plaintiffs,                 JURY TRIAL DEMANDED

       v.

 ESSENCE COMMUNICATIONS, INC.,


                     Defendant.

      Plaintiffs Kelly Jones (“Plaintiff Jones”) and Marsha Hall (“Plaintiff Hall”)

(collectively, “Plaintiffs”), on behalf of themselves and all others similarly situated,

by and through their attorneys, make the following allegations pursuant to the

investigation of their counsel and based upon information and belief, except as to

allegations specifically pertaining to themselves and their counsel, which are based

on personal knowledge.

                                   INTRODUCTION

      1.      Defendant Essence Communications, Inc. (“Essence”) rented,

exchanged, and/or otherwise disclosed detailed information about Plaintiffs’

Essence magazine subscriptions to data aggregators, data appenders, data

cooperatives, and list brokers, among others, which in turn disclosed their
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information to aggressive advertisers, political organizations, and non-profit

companies. As a result, Plaintiffs have received a barrage of unwanted junk mail.

By renting, exchanging, and/or otherwise disclosing Plaintiffs’ Private Reading

Information (defined below) during the relevant pre-July 30, 2016 time period 1,

Essence violated Michigan’s Preservation of Personal Privacy Act, H.B. 5331, 84th

Leg. Reg. Sess., P.A. No. 378, §§ 1-4 (Mich. 1988), id. § 5, added by H.B. 4694,

85th Leg. Reg. Sess., P.A. No. 206, § 1 (Mich. 1989) (the “PPPA”). 2

        2.     Documented evidence confirms these facts. For example, a list broker,

NextMark, Inc. (“NextMark”), offers to provide renters access to the mailing list

titled “ESSENCE MAGAZINE & ENHANCED Mailing List”, which contains the

Private Reading Information of 463,409 of Essence’s active U.S. subscribers at a

base price of “$115.00/M [per thousand],” (i.e., 11.5 cents apiece), as shown in the



1
        The statutory period for this action is six years. See M.C.L. § 600.5813.
2
       In May 2016, the Michigan legislature amended the PPPA. See S.B. 490, 98th
Leg., Reg. Sess., P.A. No. 92 (Mich. 2016) (codified at M.C.L. § 445.1711, et seq.).
The May 2016 amendment to the PPPA, which became effective on July 31, 2016,
does not apply retroactively to claims that accrued prior to its July 31, 2016 effective
date. See Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 439-41 (S.D.N.Y.
2016) (holding that “the amendment to the [PP]PA does not apply to Plaintiffs’
claims, and the Court will assess the sufficiency of those claims under the law as it
was when Plaintiffs’ claims accrued.”) (citing Landgraf v. USI Film Prods., 511 U.S.
224, 286 (1994)). Because the claims alleged herein accrued, and thus vested, prior
to the July 31, 2016 effective date of the amended version of the PPPA, the pre-
amendment version of the PPPA applies in this case. See Horton v. GameStop,
Corp., -- F. Supp. 3d --, 2018 WL 8335635, at *2-3 (W.D. Mich. Sept. 28, 2018).
                                           2
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screenshot below:




See Exhibit A hereto.

      3.     By renting, exchanging, or otherwise disclosing the Private Reading

Information of its Michigan-based subscribers during the relevant pre-July 30, 2016

time period, Essence violated the PPPA. Subsection 2 of the PPPA provides:

            [A] person, or an employee or agent of the person,
            engaged in the business of selling at retail, renting, or
                                        3
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             lending books or other written materials ... shall not
             disclose to any person, other than the customer, a record
             or information concerning the purchase ... of those
             materials by a customer that indicates the identity of the
             customer.

PPPA § 2.

      4.         Accordingly, Plaintiffs bring this Class Action Complaint against

Essence for its intentional and unlawful disclosure of its customers’ Private Reading

Information in violation of the PPPA.

                               NATURE OF THE CASE

      5.         To supplement its revenues, Essence rents, exchanges, or otherwise

discloses its customers’ information—including their full names, titles of

publications subscribed to, and home addresses (collectively “Private Reading

Information”), as well as myriad other categories of individualized data and

demographic information such as age, gender, income, ethnicity, veteran status,

charitable donation history, and age of children—to data aggregators, data

appenders, data cooperatives, and other third parties without the written consent of

its customers.

      6.         By renting, exchanging, or otherwise disclosing – rather than selling –

its customers’ Private Reading Information, Essence is able to disclose the

information time and time again to countless third parties.

      7.         Essence’s disclosure of Private Reading Information and other


                                            4
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individualized information is not only unlawful, but also dangerous because it allows

for the targeting of particularly vulnerable members of society. For example, anyone

could buy a customer list provided by Essence that contains the names and addresses

of all Hispanic women over the age of 50 with minor children and an annual income

of greater than $80,000 who reside in Detroit, Michigan and subscribe to Essence

magazine. Such a list is available for sale on the open market for approximately

$197.00 per thousand subscribers listed.

      8.      While Essence profits handsomely from the unauthorized rental,

exchange, and/or disclosure of its customers’ Private Reading Information and other

individualized information, it does so at the expense of its customers’ statutory

privacy rights (afforded by the PPPA) because Essence does not obtain its

customers’ written consent prior to disclosing their Private Reading Information.

                                     PARTIES

       9.     Plaintiff Jones is a natural person and citizen of the State of Michigan

and resides in Detroit, Michigan. Plaintiff Jones was a subscriber to Essence

magazine, including during the relevant pre-July 30, 2016 time period. Essence

magazine is published by Essence. While residing in, a citizen of, and present in

Michigan, Plaintiff Jones purchased her subscription to Essence magazine directly

from Essence. Prior to and at the time Plaintiff Jones subscribed to Essence, Essence

did not notify Plaintiff Jones that it discloses the Private Reading Information of its


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customers, and Plaintiff Jones has never authorized Essence to do so. Furthermore,

Plaintiff Jones was never provided any written notice that Essence rents, exchanges,

or otherwise discloses its customers’ Private Reading Information, or any means of

opting out. Since subscribing to Essence, and during the relevant pre-July 30, 2016

time period, Essence disclosed, without the requisite consent or prior notice, Plaintiff

Jones’s Private Reading Information to data aggregators, data appenders, and/or data

cooperatives, who then supplement that information with data from their own files.

Moreover, during that same period, Essence rented or exchanged mailing lists

containing Plaintiff Jones’s Private Reading Information to third parties seeking to

contact Essence subscribers, without first obtaining the requisite written consent

from Plaintiff Jones or even giving her prior notice of the rentals, exchanges, and/or

other disclosures.

       10.    Plaintiff Hall is a natural person and citizen of the State of Michigan

and resides in Grosse Pointe Park, Michigan. Plaintiff Hall was a subscriber to

Essence magazine, including during the relevant pre-July 30, 2016 time period.

Essence magazine is published by Essence. While residing in, a citizen of, and

present in Michigan, Plaintiff Hall purchased her subscription to Essence magazine

directly from Essence. Prior to and at the time Plaintiff Hall subscribed to Essence,

Essence did not notify Plaintiff Hall that it discloses the Private Reading Information

of its customers, and Plaintiff Hall has never authorized Essence to do so.

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Furthermore, Plaintiff Hall was never provided any written notice that Essence rents,

exchanges, or otherwise discloses its customers’ Private Reading Information, or any

means of opting out. Since subscribing to Essence, and during the relevant pre-July

30, 2016 time period, Essence disclosed, without the requisite consent or prior

notice, Plaintiff Hall’s Private Reading Information to data aggregators, data

appenders, and/or data cooperatives, who then supplement that information with data

from their own files.    Moreover, during that same period, Essence rented or

exchanged mailing lists containing Plaintiff Hall’s Private Reading Information to

third parties seeking to contact Essence subscribers, without first obtaining the

requisite written consent from Plaintiff Hall or even giving her prior notice of the

rentals, exchanges, and/or other disclosures.

       11.    Defendant Essence Communications, Inc. is a Delaware corporation

with its headquarters and principal place of business in New York, New York.

Essence does business throughout Michigan and the entire United States. Essence is

the publisher of Essence magazine.

                         JURISDICTION AND VENUE

      12.     This Court has subject matter jurisdiction over this civil action

pursuant to 28 U.S.C. § 1332(d) because there are more than 100 class members and

the aggregate amount in controversy exceeds $5,000,000, exclusive of interest, fees,

and costs, and at least one Class member is a citizen of a state different from


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Defendant.

      13.     The Court has personal jurisdiction over Essence because Plaintiffs’

claims arose in substantial part from actions and omissions in Michigan, including

from their purchases of Essence subscriptions in Michigan, Essence’s direction of

such Essence subscriptions into Michigan, and Essence’s failure to obtain Plaintiffs’

written consent in Michigan prior to disclosing their Private Reading Information,

including their residential addresses in Michigan, to another person, the effects of

which were felt from within Michigan by citizens and residents of Michigan.

Personal jurisdiction also exists over Essence in Michigan because Essence conducts

substantial business within Michigan, such that Essence has significant, continuous,

and pervasive contacts with the State of Michigan.

      14.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

Plaintiffs reside in this judicial District, Essence does substantial business in this

judicial District, and a substantial part of the events giving rise to Plaintiffs’ claims

took place within this judicial District.

                           FACTUAL BACKGROUND

                 Michigan’s Preservation of Personal Privacy Act

      15.     In 1988, members of the United States Senate warned that records of

consumers’ purchases and rentals of audiovisual and publication materials offer “a

window into our loves, likes, and dislikes,” and that “the trail of information


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generated by every transaction that is now recorded and stored in sophisticated

record-keeping systems is a new, more subtle and pervasive form of surveillance.”

S. Rep. No. 100-599 at 7–8 (1988) (statements of Sens. Simon and Leahy,

respectively).

      16.        Recognizing the need to further protect its citizens’ privacy rights,

Michigan’s legislature enacted the PPPA to protect “privacy with respect to the

purchase, rental, or borrowing of certain materials,” by prohibiting companies from

disclosing certain types of sensitive consumer information. H.B. No. 5331, 1988

Mich. Legis. Serv. 378 (West).

      17.        Subsection 2 of the PPPA states:

             [A] person, or an employee or agent of the person,
             engaged in the business of selling at retail, renting, or
             lending books or other written materials . . . shall not
             disclose to any person, other than the customer, a record
             or information concerning the purchase . . . of those
             materials by a customer that indicates the identity of the
             customer.

PPPA § 2 (emphasis added).

      18.        Michigan’s protection of reading information reflects the “gut feeling

that people ought to be able to read books and watch films without the whole world

knowing,” and recognizes that “[b]ooks and films are the intellectual vitamins that

fuel the growth of individual thought. The whole process of intellectual growth is

one of privacy—of quiet, and reflection. This intimate process should be protected

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from the disruptive intrusion of a roving eye.” S. Rep. No. 100–599, at 6 (Statement

of Rep. McCandless).

      19.      As Senator Patrick Leahy recognized in proposing the Video and

Library Privacy Protection Act (later codified as the Video Privacy Protection Act,

18 U.S.C. § 2710), “[i]n practical terms our right to privacy protects the choice of

movies that we watch with our family in our own homes. And it protects the

selection of books that we choose to read.” 134 Cong. Rec. S5399 (May 10, 1988).

      20.      Senator Leahy also explained why choices in movies and reading

materials are so private: “These activities . . . reveal our likes and dislikes, our

interests and our whims. They say a great deal about our dreams and ambitions, our

fears and our hopes. They reflect our individuality, and they describe us as people.”

Id.

      21.      Michigan’s passage of the PPPA also established as a matter of law

“that a person’s choice in reading, music, and video entertainment is a private matter,

and not a fit subject for consideration by gossipy publications, employers, clubs, or

anyone else for that matter.”      Privacy: Sales, Rentals of Videos, etc., House

Legislative Analysis Section, H.B. No. 5331, Jan. 20, 1989 (attached hereto as

Exhibit B).

      22.      Despite the fact that thousands of Michigan residents subscribe to

Essence’s     publications,   Essence   disregarded   its   legal   responsibility   by

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systematically violating the PPPA.

                       The Private Information Market:
                 Consumers’ Private Information Has Real Value

      23.     In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

Swindle remarked that “the digital revolution . . . has given an enormous capacity

to the acts of collecting and transmitting and flowing of information, unlike anything

we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being

defined by the existing data on themselves.” 3

      24.     More than a decade later, Commissioner Swindle’s comments ring

truer than ever, as consumer data feeds an information marketplace that supports a

$26 billion dollar per year online advertising industry in the United States. 4

      25.     The FTC has also recognized that consumer data possesses inherent

monetary value within the new information marketplace and publicly stated that:

             Most consumers cannot begin to comprehend the types
             and amount of information collected by businesses, or why
             their information may be commercially valuable. Data is
             currency. The larger the data set, the greater potential for


3
       Exhibit C, The Information Marketplace: Merging and Exchanging
Consumer Data (Mar. 13, 2001), at 8:15-11:16, available at
https://www.ftc.gov/sites/default/files/documents/public_events/information-
marketplace-merging-and-exchanging-consumer-data/transcript.pdf (last visited
July 30, 2021).
4
        See Exhibit D, Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011),
http://online.wsj.com/article/SB10001424052748703529004576160764037920274
.html (last visited July 30, 2021).
                                          11
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             analysis—and profit.5

      26.     In fact, an entire industry exists while companies known as data

aggregators purchase, trade, and collect massive databases of information about

consumers. Data aggregators then profit by selling this “extraordinarily intrusive”

information in an open and largely unregulated market. 6

      27.     The scope of data aggregators’ knowledge about consumers is

immense: “If you are an American adult, the odds are that [they] know[] things like

your age, race, sex, weight, height, marital status, education level, politics, buying

habits, household health worries, vacation dreams—and on and on.” 7

      28.     Further, “[a]s use of the Internet has grown, the data broker industry

has already evolved to take advantage of the increasingly specific pieces of




5
        Exhibit E, Statement of FTC Commissioner Pamela Jones Harbour (Dec. 7,
2009),                at                 2,             available                at
https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
exploring-privacy-roundtable/091207privacyroundtable.pdf (last visited July 30,
2021) (emphasis added).
6
     See Exhibit F, Martha C. White, Big Data Knows What You’re Doing Right
Now, TIME.com (July 31, 2012), http://moneyland.time.com/2012/07/31/big-data-
knows-what-youre-doing-right-now/ (last visited July 30, 2021).
7
       Exhibit G, Natasha Singer, You for Sale: Mapping, and Sharing, the
Consumer Genome, N.Y. Times (June 16, 2012), available at
https://www.immagic.com/eLibrary/ARCHIVES/GENERAL/GENPRESS/N12061
6S.pdf (last visited July 30, 2021).

                                         12
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information about consumers that are now available.” 8

      29.       Recognizing the serious threat the data mining industry poses to

consumers’ privacy, on July 25, 2012, the co-Chairmen of the Congressional Bi-

Partisan Privacy Caucus sent a letter to nine major data brokerage companies

seeking information on how those companies collect, store, and sell their massive

collections of consumer data. 9

      30.       In their letter, the co-Chairmen recognized that “[b]y combining data

from numerous offline and online sources, data brokers have developed hidden

dossiers on every U.S. consumer,” which “raises a number of serious privacy

concerns.” 10

      31.       Data aggregation is especially troublesome when consumer

information is sold to direct-mail advertisers. In addition to causing waste and




8
       Exhibit H, Letter from Senator John D. Rockefeller IV, Chairman, Senate
Committee on Commerce, Science, and Transportation, to Scott E. Howe, Chief
Executive     Officer,     Acxiom     (Oct.     9,   2012)     available    at
http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-
4157-a97b-a658c3c3061c (last visited July 30, 2021).
9
        See Exhibit I, Bipartisan Group of Lawmakers Query Data Brokers About
Practices Involving Consumers’ Personal Information, Website of Senator Ed
Markey      (July     24,     2012),   http://www.markey.senate.gov/news/press-
releases/bipartisan-group-of-lawmakers-query-data-brokers-about-practices-
involving-consumers-personal-information (last visited July 30, 2021).
10
        Id.

                                          13
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inconvenience, direct-mail advertisers often use consumer information to lure

unsuspecting consumers into various scams, 11 including fraudulent sweepstakes,

charities, and buying clubs. Thus, when companies like Essence share information

with data aggregators, data cooperatives, and direct-mail advertisers, they contribute

to the “[v]ast databases” of consumer data that are often “sold to thieves by large

publicly traded companies,” which “put[s] almost anyone within the reach of

fraudulent telemarketers” and other criminals. 12

      32.     Information disclosures like those made by Essence are particularly

dangerous to the elderly. “Older Americans are perfect telemarketing customers,

analysts say, because they are often at home, rely on delivery services, and are lonely

for the companionship that telephone callers provide.” 13 The FTC notes that “[t]he

elderly often are the deliberate targets of fraudulent telemarketers who take

advantage of the fact that many older people have cash reserves or other assets to




11
      See Exhibit J, Prize Scams, Federal Trade Commission,
http://www.consumer.ftc.gov/articles/0199-prize-scams (last visited July 30, 2021).
12
       Exhibit K, Charles Duhigg, Bilking the Elderly, With a Corporate Assist,
N.Y.        Times,        May        20,        2007,        available      at
http://www.nytimes.com/2007/05/20/business/20tele.html (last visited July 30,
2021).
13
      Id.

                                          14
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spend on seemingly attractive offers.” 14 Indeed, an entire black market exists where

the private information of vulnerable elderly Americans is exchanged.

      33.       Thus, information disclosures like Essence’s are particularly

troublesome because of their cascading nature: “Once marked as receptive to [a

specific] type of spam, a consumer is often bombarded with similar fraudulent offers

from a host of scam artists.” 15

      34.       Essence is not alone in jeopardizing its subscribers’ privacy and well-

being in exchange for increased revenue: disclosing subscriber information to data

aggregators, data appenders, data cooperatives, direct marketers, and other third

parties is a widespread practice in the publishing industry.

      35.       Thus, as consumer data has become an ever-more valuable

commodity, the data mining industry has experienced rapid and massive growth.

Unfortunately for consumers, this growth has come at the expense of their most

basic privacy rights.




14
       Exhibit L, Fraud Against Seniors: Hearing before the Senate Special
Committee on Aging (August 10, 2000) (prepared statement of the FTC), available
at https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-
statement-federal-trade-commission-fraud-against-seniors/agingtestimony.pdf (last
visited July 30, 2021).
15
      See id.

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              Consumers Place Monetary Value on their Privacy and
               Consider Privacy Practices When Making Purchases

      36.     As the data aggregation and cooperative industry has grown, so too

have consumer concerns regarding the privacy of their information.

      37.     A recent survey conducted by Harris Interactive on behalf of

TRUSTe, Inc. showed that 89 percent of consumers polled avoid doing business

with companies who they believe do not protect their privacy online. 16 As a result,

81 percent of smartphone users polled said that they avoid using smartphone apps

that they don’t believe protect their privacy online. 17

      38.     Thus, as consumer privacy concerns grow, consumers are increasingly

incorporating privacy concerns and values into their purchasing decisions and

companies viewed as having weaker privacy protections are forced to offer greater

value elsewhere (through better quality and/or lower prices) than their privacy-

protective competitors.

      39.     In fact, consumers’ private information has become such a valuable

commodity that companies are beginning to offer individuals the opportunity to sell



16
      See Exhibit M, 2014 TRUSTe US Consumer Confidence Privacy Report,
TRUSTe,                                      http://www.theagitator.net/wp-
content/uploads/012714_ConsumerConfidenceReport_US1.pdf (last visited July
30, 2021).
17
      Id.

                                           16
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their information themselves. 18

        40.    These companies’ business models capitalize on a fundamental tenet

underlying the consumer information marketplace:         consumers recognize the

economic value of their private data. Research shows that consumers are willing to

pay a premium to purchase services from companies that adhere to more stringent

policies of protecting their data. 19

        41.    Thus, in today’s economy, individuals and businesses alike place a

real, quantifiable value on consumer data and corresponding privacy rights. 20

     Essence Unlawfully Rents, Exchanges, And Discloses Its Customers’ Private
                               Reading Information

        42.    Essence maintains a vast digital database comprised of its customers’



18
       See Exhibit N, Joshua Brustein, Start-Ups Seek to Help Users Put a Price on
Their Personal Data, N.Y. Times (Feb. 12, 2012), available at
http://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-a-
price-on-their-personal-data.html (last visited July 30, 2021).
19
        See Exhibit O, Tsai, Cranor, Acquisti, and Egelman, The Effect of Online
Privacy Information on Purchasing Behavior, 22(2) Information Systems Research
254, 254 (2011); see also European Network and Information Security Agency,
Study      on    monetising    privacy     (Feb.     27,     2012),    available at
https://www.enisa.europa.eu/activities/identity-and-
trust/library/deliverables/monetising-privacy (last visited July 30, 2021).
20
       See Exhibit P, Hann, et al., The Value of Online Information Privacy: An
Empirical       Investigation     (Oct.     2003)       at     2,    available    at
http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.321.6125&rep=rep1&ty
pe=pdf (last visited July 30, 2021) (“The real policy issue is not whether consumers
value online privacy. It is obvious that people value online privacy.”).
                                         17
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Private Reading Information. Essence discloses its customers’ Private Reading

Information to data aggregators and appenders, who then supplement that

information with additional sensitive private information about each Essence

customer, including his or her age, gender, income, ethnicity, veteran status,

charitable donation history, and the age of their children. (See, e.g., Exhibit A).

      43.     Essence then rents and/or exchanges its mailing lists—which include

subscribers’ Private Reading Information identifying which individuals purchased

subscriptions to particular magazines, and can include the sensitive information

obtained from data aggregators and appenders—to other data aggregators and

appenders, other consumer-facing businesses, non-profit organizations seeking to

raise awareness and solicit donations, and to political organizations soliciting

donations, votes, and volunteer efforts. (See Exhibit A).

      44.     Essence also discloses its customers’ Private Reading Information to

data cooperatives, who in turn give Essence access to their own mailing list

databases.

      45.     As a result of Essence’s data compiling and sharing practices,

companies can purchase and/or obtain mailing lists from Essence that identify

Essence’s customers by their most intimate details such as their age, gender, income,

ethnicity, veteran status, charitable donation history, and the ages of their children.

Essence’s disclosure of such sensitive and private information puts consumers,

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especially the more vulnerable members of society, at risk of serious harm from

scammers.

      46.     Essence does not seek its customers’ prior consent, written or

otherwise, to any of these disclosures and its customers remain unaware that their

Private Reading Information and other sensitive information is being rented and

exchanged on the open market.

      47.     Consumers can sign up for subscriptions to Essence’s publications

through numerous media outlets, including the Internet, telephone, or traditional

mail. Regardless of how the consumer subscribes, Essence never required the

individual to read or affirmatively agree to any terms of service, privacy policy, or

information-sharing policy during the relevant pre-July 31, 2016 time period.

Consequently, during the relevant pre-July 31, 2016 time period, Essence uniformly

failed to obtain any form of consent from – or even provide effective notice to – its

customers before disclosing their Private Reading Information.

      48.     As a result, Essence disclosed its customers’ Private Reading

Information – including their reading habits and preferences that can “reveal

intimate facts about our lives, from our political and religious beliefs to our health

concerns” 21 – to anybody willing to pay for it.


21
      Exhibit Q, California’s Reader Privacy Act Signed into Law, Electronic
Frontier Foundation (Oct. 3,
2011), https://www.eff.org/press/archives/2011/10/03 (last visited July 30, 2021).
                                          19
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      49.     By and through these actions, Essence has intentionally disclosed to

third parties its Michigan customers’ Private Reading Information without consent,

in direct violation of the PPPA.

                       CLASS ACTION ALLEGATIONS

      50.    Plaintiffs seek to represent a class defined as all Michigan residents

who, at any point during the relevant pre-July 30, 2016 time period, had their Private

Reading Information disclosed to third parties by Essence without consent (the

“Class”). Excluded from the Class is any entity in which Defendant has a controlling

interest, and officers or directors of Defendant.

      51.    Members of the Class are so numerous that their individual joinder

herein is impracticable. On information and belief, members of the Class number in

the thousands. The precise number of Class members and their identities are

unknown to Plaintiffs at this time but may be determined through discovery. Class

members may be notified of the pendency of this action by mail and/or publication

through the distribution records of Defendant.

      52.    Common questions of law and fact exist as to all Class members and

predominate over questions affecting only individual Class members. Common

legal and factual questions include, but are not limited to: (a) whether Essence is a

“retailer or distributor” of publications (i.e., magazines); (b) whether Essence

obtained consent before disclosing to third parties Plaintiffs’ and the Class’s Private

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Reading Information; and (c) whether Essence’s disclosure of Plaintiffs’ and the

Class’s Private Reading Information violated the PPPA.

      53.    The claims of the named Plaintiffs are typical of the claims of the Class

in that the named Plaintiffs and the Class suffered invasions of their statutorily

protected right to privacy (as afforded by the PPPA) as a result of Defendant’s

uniform wrongful conduct, based upon Defendant’s disclosure of Plaintiffs’ and the

Class’s Private Reading Information.

      54.    Plaintiffs are adequate representatives of the Class because their

interests do not conflict with the interests of the Class members they seek to

represent, they have retained competent counsel experienced in prosecuting class

actions, and they intend to prosecute this action vigorously. The interests of Class

members will be fairly and adequately protected by Plaintiffs and their counsel.

      55.    The class mechanism is superior to other available means for the fair

and efficient adjudication of the claims of Class members. Each individual Class

member may lack the resources to undergo the burden and expense of individual

prosecution of the complex and extensive litigation necessary to establish

Defendant’s liability. Individualized litigation increases the delay and expense to

all parties and multiplies the burden on the judicial system presented by the complex

legal and factual issues of this case. Individualized litigation also presents a potential

for inconsistent or contradictory judgments. In contrast, the class action device

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presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on

the issue of Defendant’s liability. Class treatment of the liability issues will ensure

that all claims and claimants are before this Court for consistent adjudication of the

liability issues.

                             CAUSE OF ACTION
          Violation of Michigan’s Preservation of Personal Privacy Act
                                   (PPPA § 2)

       56.    Plaintiffs repeat the allegations contained in the foregoing paragraphs

as if fully set forth herein.

       57.    Plaintiffs bring this claim individually on behalf of themselves and on

behalf of members of the Class against Defendant Essence.

       58.    As a magazine publisher that sells subscriptions to consumers, Essence

is engaged in the business of selling written materials at retail. See PPPA § 2.

       59.    By purchasing subscriptions to Essence magazine, Plaintiffs purchased

written materials directly from Essence. See PPPA § 2.

       60.    Because Plaintiffs purchased written materials directly from Essence,

each of the Plaintiffs is a “customer” within the meaning of the PPPA. See PPPA §

1.

       61.    At various times during the pre-July 30, 2016 time period, Essence

disclosed each of the Plaintiffs’ Private Reading Information, which identified each


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of them as an Essence customer, in at least three ways.

      62.    First, Essence disclosed mailing lists containing Plaintiffs’ Private

Reading Information to data aggregators and data appenders, who then

supplemented the mailing lists with additional sensitive information from their own

databases, before sending the mailing lists back to Essence.

      63.    Second, Essence disclosed mailing lists containing Plaintiffs’ Private

Reading Information to data cooperatives, who in turn gave Essence access to their

own mailing list databases.

      64.    Third, Essence rented and/or exchanged its mailing lists containing

Plaintiffs’ Private Reading Information—enhanced with additional information

from data aggregators and appenders—to third parties, including other consumer-

facing companies, direct-mail advertisers, and organizations soliciting monetary

contributions, volunteer work, and votes.

      65.    Because the mailing lists included the additional information from the

data aggregators and appenders, the lists were more valuable, and Essence was able

to increase its profits gained from the mailing list rentals and/or exchanges.

      66.    By renting, exchanging, or otherwise disclosing its customer lists,

during the relevant pre-July 30, 2016 time period, Essence disclosed to persons other

than the Plaintiffs records or information concerning each of their purchases of

written materials from Essence. See PPPA § 2.

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      67.    The information Essence disclosed indicates each of the Plaintiffs’

names and addresses, as well as the fact that each of them subscribed to Essence.

Accordingly, the records or information disclosed by Essence indicated Plaintiffs’

identities. See PPPA § 2.

      68.    Plaintiffs and the members of the Class never consented to Essence

disclosing their Private Reading Information to anyone.

      69.    Worse yet, Plaintiffs and the members of the Class did not receive

notice before Essence disclosed their Private Reading Information to third parties.

      70.    Essence’s disclosures of Plaintiffs’ and the Class’s Private Reading

Information during the relevant pre-July 30, 2016 time period were not made

pursuant to a court order, search warrant, or grand jury subpoena.

      71.    Essence’s disclosures of Plaintiffs’ and the Class’s Private Reading

Information during the relevant pre-July 30, 2016 time period were not made to

collect payment for their subscriptions.

      72.    Essence’s disclosures of Plaintiffs’ Private Reading Information during

the relevant pre-July 30, 2016 time period were made to data aggregators, data

appenders, data cooperatives, direct-mail advertisers, and organizations soliciting

monetary contributions, volunteer work, and votes—all in order to increase

Essence’s revenue. Accordingly, Essence’s disclosures were not made for the

exclusive purpose of marketing goods and services directly to Plaintiffs and the

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members of the Class.

      73.    By disclosing Plaintiffs’ and the Class’s Private Reading Information

during the relevant pre-July 30, 2016 time period, Essence violated Plaintiffs’ and

the Class’s statutorily protected right to privacy in their reading habits. See PPPA §

2.

      74.    As a result of Essence’s unlawful disclosure of their Private Reading

Information, Plaintiffs and the members of the Class have suffered invasions of their

statutorily protected right to privacy (afforded by the PPPA).         On behalf of

themselves and the Class, Plaintiffs seek: (1) $5,000.00 to each of the Plaintiffs and

each Class member pursuant to PPPA § 5(a); and (2) costs and reasonable attorneys’

fees pursuant to PPPA § 5(b).

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, individually and on behalf of all others similarly

situated, seek a judgment against Defendant as follows:

              A.    For an order certifying the Class under Rule 23 of the
                    Federal Rules of Civil Procedure and naming Plaintiffs as
                    representatives of the Class and Plaintiffs’ attorneys as
                    Class Counsel to represent the Class;

              B.    For an order declaring that Defendant’s conduct as
                    described herein violated the Preservation of Personal
                    Privacy Act, PPPA;

              C.    For an order finding in favor of Plaintiffs and the Class on
                    all counts asserted herein;


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            D.     For an award of $5,000 to each of the Plaintiffs and each
                   Class member, as provided by the Preservation of Personal
                   Privacy Act, PPPA § 5(a);

            E.     For prejudgment interest on all amounts awarded; and

            F.     For an order awarding Plaintiffs and the Class their
                   reasonable attorneys’ fees and expenses and costs of suit.

                                JURY DEMAND

     Plaintiffs demand a trial by jury on all causes of action and issues so triable.

Dated: November 10, 2021              Respectfully submitted,

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